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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

  UNITED STATES OF AMERICA
                                                                 No. 3:19-cr-172 (MPS)
          v.

  ANTHONY ESPOSITO



               ORDER ACCEPTING THE MAGISTRATE JUDGE’S FINDINGS

       Having reviewed the transcript of the change of plea proceeding held on August 6, 2020,

I hereby accept and adopt the Magistrate Judge’s finding that the plea of guilty by this defendant

has been knowingly and voluntarily made and is supported by an adequate factual basis. The

recommendation that the defendant’s plea of guilty be accepted is hereby adopted. Accordingly,

a finding of guilty will enter forthwith. The parties and the United States Probation Office shall

follow the schedule already set by the Court. ECF No. 432.

       It is so ordered.

       ENTERED at Hartford, Connecticut, this 30th day of December, 2020.



                                                                /s/
                                                      Michael P. Shea
                                                      United States District Judge
